                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 BRIAN P. MANOOKIAN,

         Plaintiff,                                 Case No. 3:19-cv-0350

 v.                                                 Judge Campbell
                                                    Magistrate Judge Newbern
 FLOYD FLIPPIN, ET AL.,

         Defendants.


                                              ORDER

        On June 11, 2019, Defendants filed a motion to dismiss. (Doc. No. 23.) Pursuant to Local

Rule 7.01(a)(3), any response is to be filed within 14 days after service of the motion. M.D. Tenn.

R. 7.01(a)(3) (response). A reply memorandum not to exceed five pages may be filed within 7

days after service of the response. Id. § 7.01(a)(4) (reply).

        Any filings made related to the motion to dismiss, including motions for extensions of time

or to exceed page limits, shall be decided by Judge Campbell unless referred to the undersigned

magistrate judge.

        It is so ORDERED.

                                                       ____________________________________
                                                       ALISTAIR E. NEWBERN
                                                       United States Magistrate Judge




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